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 1   Eric H. Gibbs (SBN 178658)
 2   ehg@classlawgroup.com
     Andre M. Mura (SBN 298541)
 3   amm@classlawgroup.com
 4   David M. Berger (SBN 277526)
     dmb@classlawgroup.com
 5   GIBBS LAW GROUP LLP
 6   505 14th Street, Suite 1110
     Oakland, California 94612
 7
     Telephone: (510) 350-9700
 8   Facsimile: (510) 350-9701
 9
     Attorneys for Plaintiff and Proposed Class
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12
                           UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
15     DAVID GRITZ, on behalf of himself          Case No. 8:19-cv-01009 DSF (Ex)
16     and all others similarly situated,
                                                  NOTICE OF VOLUNTARY DISMISSAL
17                       Plaintiff,               WITHOUT PREJUDICE PURSUANT TO
18               v.                               FEDERAL RULE OF CIVIL
                                                  PROCEDURE 41(a)
19
       FIRST AMERICAN FINANCIAL
20     CORPORATION, and FIRST
21     AMERICAN TITLE COMPANY,
                                                  Hon. Dale S. Fischer
22                                                Courtroom 7D
                         Defendants.
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               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff David
 3   Gritz hereby voluntarily dismisses his claims against Defendants without prejudice.
 4   Defendant has not served an answer or motion for summary judgment in their case, and
 5   Plaintiffs have not filed a motion for class certification. Therefore, dismissal without
 6   prejudice is appropriate without a court order. Fed. R. Civ. P. 41(a)(1) (permitting
 7   unilateral voluntary dismissal without court approval until Defendant files an answer or a
 8   motion for summary judgment); Fed. R. Civ. P. 23(e) (requiring court approval of
 9   voluntary dismissals only for certified classes).
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12   DATED: January 3, 2020                  GIBBS LAW GROUP LLP
13
                                             /s/   David M. Berger
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15                                           Eric H. Gibbs (SBN 178658)
                                             Andre M. Mura (SBN 298541)
16
                                             David M. Berger (SBN 277526)
17                                           505 14th Street, Suite 1110
18                                           Oakland, California 94612
                                             Telephone: (510) 350-9700
19                                           Facsimile: (510) 350-9701
20                                           ehg@classlawgroup.com
                                             amm@classlawgroup.com
21                                           dmb@classlawgroup.com
22
                                             Attorneys for Plaintiff and Proposed Class
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               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
